                               NO. 07-12-0063-CV
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	SEPTEMBER 7, 2012
	______________________________

	RK FINANCIAL GROUP, L.P.,

Appellant

	v.

	ALLSTATE SECURITY INDUSTRIES,

Appellee
	_________________________________

	FROM THE COUNTY COURT AT LAW NO. 1 OF POTTER COUNTY;

	NO. 97-110-1; HON. W.F. "CORKY" ROBERTS, PRESIDING
	_______________________________

	Memorandum Opinion
	_______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
Appellant RK Financial Group, L.P. filed its notice of appeal on February 3, 2012.  On August 14, 2012, this court issued an order directing appellant to amend its notice of appeal to conform with Texas Rule of Appellate Procedure 25.1(d)(7) and comply with all other rules pertaining to the prosecution of a restricted appeal.  As of this date, no response has been received, nor has an amended restricted notice of appeal been filed with this court.  Consequently, we dismiss the appeal for want of prosecution for failure to comply with the August 14th order.  Tex. R. App. P. 42.3(c).

Per Curiam

